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AO 247 (Rev. D/CO 03/15) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582 (c) (2)


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                                District of Colorado

                    United States of America                                )
                               v.                                           )
                                                                            )   Case No: 11-cr-00184-WYD-01
                LEON HENDERSON ASKEW
                                                                            )   USM No: 37987-013
Date of Previous Judgment: June 12, 2012                                    )   Virginia L. Grady, Federal Public Defender
(Use Date of Last Amended Judgment if Applicable)                           )   Defendant’s Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at U.S.S.G. § 1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
       ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of: one hundred thirty (130) months is reduced to one hundred sixteen
                    (116) months; fifty-six (56) months on Counts One, Two and Three, concurrently, and sixty (60)
                    months on Count Four, consecutive to Counts One, Two, and Three.
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:         22                      Amended Offense Level:          20
Criminal History Category:      IV                      Criminal History Category:      IV
Previous Guideline Range:  63 to 78 months (Ct 1, 2, 3) Amended Guideline Range: 51 to 63 months (Ct 1, 2, 3)
Previous Guideline Range:  60 months (Count 4)          Amended Guideline Range: 60 months (Count 4)
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):

III. ADDITIONAL COMMENTS



Except as provided above, all provisions of the judgment dated                     June 12, 2012                 shall remain in effect.

IT IS SO ORDERED.
Order Date:          June 11, 2015                                                                   s/ Wiley Y. Daniel
                                                                                                          Judge’s signature


Effective Date: November 1, 2015                                                            Wiley Y. Daniel, U.S. District Judge
                      (if different from order date)                                                    Printed name and title
